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 4 Attorney for Defendant
   Jose Gonzalez Arias
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 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                             CASE NO. 08-cr-00562 WBS
12                                Plaintiff,               STIPULATION AND [PROPOSED]
                                                           ORDER SETTING RE-SENTENCING
13   v.                                                    HEARING
14   JOSE GONZALEZ ARIAS,
                                  Defendant,
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16
                                               STIPULATION
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            Defendant Jose Gonzalez Arias through his counsel of record, and Plaintiff United States of
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19 America, by and through its counsel of record, hereby stipulate as follows:
20          The court should vacate the status of sentencing hearing now set on September 14, 2015. A

21 re-sentencing hearing shall be scheduled for November 30, 2015 at 9:30 a.m., said matter to be

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     added to the court’s calendar for that date. Defense counsel as met and conferred with Mr. Arias and
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     will need additional time to prepare for re-sentencing. Additionally, defense counsel has started a
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     murder trial that is expected to conclude on October 8, 2015.
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     DATED:     September 10, 2015
 1

 2                                   /s/ Jill Thomas___________________
                                     Assistant United States Attorney
 3
     DATED:     September 10, 2015
 4

 5                                   /s/ Timothy E. Warriner
                                     Counsel for Defendant
 6                                   Jose Gonzalez Arias
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 8
                                            ORDER
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10        IT IS SO FOUND AND ORDERED.
11 Dated: September 10, 2015

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